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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA

10   ORLANDO GARCIA,                           ) Case No.: 2:20-cv-02409-JAK-PVC
                                               )
11              Plaintiff,                     )
                                               ) NOTICE OF SETTLEMENT AND
12      v.                                     ) REQUEST TO VACATE ALL
13   ROSE HOOK, L.P., a California Limited )) CURRENTLY SET DATES
     Partnership; HOOK BURGER LLC, a
14   California Limited Liability Company; and )
     Does 1-10,                                )
                                               )
15              Defendants,                    )
16         The plaintiff hereby notifies the court that a global settlement has been reached in
17   the above-captioned case and the parties would like to avoid any additional expense,
18   and to further the interests of judicial economy.
19         The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
20   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
21   parties will be filed within 60 days.
22
23
                                       CENTER FOR DISABILITY ACCESS
24
25   Dated: April 23, 2020             /s/ Phyl Grace
26                                     Phyl Grace
                                       Attorney for Plaintiff
27
28


     Notice of Settlement            -1-                   2:20-cv-02409-JAK-PVC
